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Task B504— EPIC Loan

09/13/06 J. Hermann Review and analyze marketing agreement 0.30 171.00
for Epic condominia in connection with
issues bearing upon possible forms of
recordation to be made against property.
09/13/06 J. Hermann Further consider and analyze issues 0.90 513.00
bearing upon means of encumbering title
to Epic property and participate in
exchange of email correspondence
regarding the same.
09/13/06 J. Hermann Review and analyze correspondence from 0.90 513.00
Riverside recorders office rejection
proposed filing as to Diversified's interest
in Epic property and consider and analyze
issues in connection with the same (.30);
multiple conferences with M. McAndrews
and Ms. Moletto regarding means of
accomplishing encumbrance upon title and
numerous related matters in connection
with the same (.60).
09/13/06 M. McAndrews Confer with J. Hermann regarding 0.60 372.00
alternatives (.30); additional research on
recordation issues (.20); review brokerage
agreement (.10).
09/13/06 M. Levinson Telephone conversation with J. Hermann 0.20 112.00
re the refusal of Riverside County to
record the Acknowledgement of Interest
document and re next steps in light of the
same.
09/15/06 M. McAndrews Confer with J. Hermann regarding title 0.70 434.00
clearance and notice issues (.20); review
draft escrow instructions in connection
with same (.30); review related transaction
documents (.20).
09/17/06 M. McAndrews Review exclusive listing agreement 0.80 496.00
regarding hotel sale and condominium
releases (.40); confer with J. Hermann
regarding additional research (.20);
prepare commentary on escrows (.20).
09/18/06 J. Hermann Further review and analyze documentation 0.20 114.00
and participate in exchange of email
correspondence regarding rejection for
filing of acknowledgement of interest by
Riverside county recorder.
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09/18/06 J. Hermann Participate in exchange of email 0.20 114.00

correspondence with M. Tucker, C.
Harvick and M. Levinson regarding issue
of whether title work was done on Epic
Property and history of transactions.
09/18/06 J. Hermann Review and analyze draft of complaint 0.30 171.00
prepared on Epic Property in connection
with ongoing efforts to encumber the same
prior to commencement of sales of the
condominia.
‘09/18/06 M. Levinson Review J. Hermann email memorandum 0.20 112.00
re the rejection by Riverside County of the
proposed Statement of Interest, the M.
Tucker email memorandum re possible
next steps in light thereof and the J.
Hermann response thereto.
09/20/06 J. Hermann Portion of conference call with A. Jarvis 0.20 114.00
and M. Levinson and M. Tucker re issues
bearing upon sale of Epic condominiums
and means of ensuring that proceeds are
paid to Diversified Fund.
09/20/06 M. Levinson Portion of long telephone conversation 0:30 168.00
with A. Jarvis, J. Hermann and M. Tucker
devoted to collecting to the Epic loan
(.20); review A. Jarvis email
memorandum to R. Walker requesting that
Tree Moss execute irrevocable escrow
instructions (.10).
09/21/06 M. Levinson Review M. Tucker email memorandum to 0.10 56.00
A. Jarvis re status of T. Allison's attempt
to gain access to the company marketing
Epic time share units.
09/22/06 J. Hermann Further revisions of irrevocable escrow 0.90 513.00
instructions in part to incorporate security
agreement in connection with claims
against Investment Partners VI and sale of
Hotel Zozo.
09/22/06 J. Hermann Participate in exchange of email 0.30 171.00
correspondence with Diversified Fund
committee professionals and debtor
professionals regarding revisions of
irrevocable escrow instructions in
connection with claims against Investment
Partners VI and sale of Hotel Zozo.
09/25/06 M. Levinson Review C. Harvick email memorandum to 0.10 56.00
J. Atkinson requesting information
relating to the Epic property.

B504 — EPIC Loan Total 7.20 4,200.00
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Timekeeper Summary Hours Rate Amount
Jeffery D. Hermann 4.20 570.00 2,394.00
Mare A. Levinson 0.90 560.00 504.00
Michael A. McAndrews 2.10 620.00 1,302.00

Total All Timekeepers 7.20 $583.33 $4,200.00
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Task B505 — 10-90 Loan

09/01/06 M. Levinson Portion of long telephone conversation 0.60 336.00
with J. Hermann re yesterday's lengthy
conversation with T. Allison, R. Walker,
A. Jarvis and others re next steps with
Investment Partners (.40); review prior
email memoranda re the discussions with
J. Milanowski and with R. Walker and
analysis re next steps (.20).

09/01/06 J. Hermann Telephone conference with M. Tucker and 1.80 1,026.00
M. Levinson regarding bankruptcy court
hearing, 10-90, Inc. loan issues, asset sales
and related matters (.70); review and
analyze file materials in connection with
the same (.20); review and analyze
operating agreements for Ashby entities in
connection with issues pertaining to
pledge of Investment Partners interests in
the same and enforcement of that pledge

(.90).

09/05/06 M. Levinson Voicemail messages to R. Walker, A. 0.10 56.00
Jarvis and J. Hermann re next steps with
respect to Investment Partners.

09/06/06 M. Levinson Telephone conversation with M. Tucker, 1.10 616.00
C. Harvick and J. Hermann re next steps
with respect to the 10-90 loan and
Investment Partners (.30); telephone
conversation with J. Hermann re the same,
review his email memorandum to R.
Walker and follow-up email memorandum
to A. Jarvis (.20); portion of a long
telephone conversation with M. Tucker
and C. Harvick re 10-90 and Investment
Partners (.20); review J. Hermann email
memorandum re possible sales of
Investment Partners assets (.10); exchange
of email memoranda with A. Jarvis re
arranging a conference call with R.
Walker tomorrow (.10); review and
respond to M. Tucker email memorandum
re possible call tomorrow with Ohio
Savings Bank (.10); exchange follow-up
email memoranda with M. Tucker re the
same and re next steps (.10).

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09/06/06 J. Hermann Telephone conference with M. Levinson 1.40 798.00

regarding follow-up with J. Milanowski's
counsel and plan of reorganization issues
as they relate to collection of the 10-90
loan and pursuit of Investment Partners on
other liabilities (.20); review and analyze
Ashby-related materials in connection
with assertions made by J. Milanowski on
control issues, etc. (.50); telephone
conference with M. Tucker, C. Harvick
and M. Levinson regarding strategy for
pursuit of further negotiations with J.
Milanowski and related matters (.30);
telephone conference with Mr. Walker
regarding the same and related issues (.30)
and participate in exchange of email
correspondence regarding the same with
Mr. Walker (.10).
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09/07/06 M. Levinson Telephone conversation with M. Tucker, 2.90 1,624.00

with C. Harvick for part and J. Hermann
for part, re next steps with the Ashby
interests, and voicemail message to J.
Mahoney with M. Tucker and J. Hermann
re the same (.30); exchange a long series
of many email memoranda with A. Jarvis,
R. Walker, J. Hermann and M. Tucker re
arranging a conference call to discuss next
steps (.30); portion of follow-up
conversation with M. Tucker and J.
Hermann devoted to Investment Partners,
and telephone conversation with J.
Mahoney's assistant with M. Tucker and
J. Hermann (.20); review C. Harvick email
memorandum listing loans guaranteed by
Investment Partners principals, review the
J. Hermann response thereto and the C.
Harvick response to J. Hermann (.20);
long telephone conversation with R.
Walker and J. Hermann re possible
settlement with Investment Partners and re
related matters (.50); email memorandum
to A. Jarvis and T. Allison re their meeting
today with R. Ashby, J. Milanowski and
others (.10); follow-up telephone
conversation with J. Hermann (.20);
follow-up telephone conversation with M.
Tucker (.20); follow-up telephone
conversation with A. Loraditch re possible
next step in light of the latest Investment
Partners developments (.20); email
memorandum and voicemail message
from A. Jarvis re today's meeting in Las
Vegas with R. Ashby, J. Milanowski and
others (.10); long telephone conversation
with A. Jarvis re the same and re next
steps (.30); exchange brief email
memoranda with M. Tucker, analysis re
next steps and send a lengthy email
memorandum to M. Tucker and J.
Hermann re the same (.30).
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09/07/06 J. Hermann Telephone conference with M. Tucker and 2.80 1,596.00

M. Levinson regarding issues in
connection with Roripaugh Ranch and
issues related to Ashby loans (.20);
telephone conference with R. Walker's
office regarding negotiations with J.
Milanowski (.10); participate in exchange
of email correspondence regarding the
same with R. Walker (.10); telephone
conference with M. Tucker and M.
Levinson regarding 10-90 loan issues and
plan of reorganization issues (portion)
(.40); telephone conference with R.
Walker and M. Levinson regarding
negotiations for deal with Investment
Partners on 10-90 loan and related matters
(.50); telephone conference with M.
Levinson regarding follow-up issues (.10);
further review and analyze operating
agreements and other file materials in
connection with control issues being
discussed with Mr. Walker (.80); review
and analyze listing of loans guaranteed by
J. Milanowski and T. Hantges in
connection with collections on Investment
Partners and 10-90 loan guaranteed by
them (.20); review and analyze listing of
nature and amount of contingent liabilities
of J. Milanowski and T. Hantges in
connection with collections on Investment
Partners and 10-90 loan guaranteed by
them (.30); participate in exchange of
email correspondence regarding the same

(.10).
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09/08/06 M. Levinson Portion of long telephone conversation 2.90 1,624.00

with M. Tucker and C. Harvick re
Investment Partners issues and strategies
(.20); exchange a series of brief follow-up
email memoranda with M. Tucker (.10);
telephone conversation with T. Allison, J.
Atkinson, A. Jarvis, M. Tucker and C.
Harvick re yesterday's meeting and re next
steps (.20); participate in the follow-up
conversation with T. Allison, J. Atkinson,
A. Jarvis, J. Hermann, M. Tucker and C.
Harvick, which I join in progress because
it began while I was on a conference call
in another matter (.60); long follow-up
conversation with M. Tucker, C. Harvick
and J. Hermann re next steps, with J.
Mahoney for part (1.10); long follow-up
conversation with M. Tucker, C. Harvick
and J. Hermann (.40); review prior email
memoranda and brief follow-up email
memorandum to R. Walker requesting his
draft deal term sheet (.10); portion of a
long telephone conversation with R.
Charles and J. Hermann re the foregoing
and re next steps (.20).

09/08/06 J. Hermann Participate in extensive conference call 5.40 3,078.00
with A. Jarvis, T. Allison, M. Levinson,
M. Tucker and C. Harvick regarding 10-
90 issues and other issues involving
Investment Partners and collection,
negotiation and litigation strategy for
pursuing Investment Partners (2.10);
participate in second extensive conference
call with M. Tucker, C. Harvick, M.
Levinson and later, J. Mahoney, regarding
10-90 loan issues and related issues raised
by T. Ashby demanding full control of all
related development projects (2.00);
telephone conference with R. Charles and
M. Levinson regarding progress made in
above conference calls and related matters
(.80); further review and analyze Ashby
transaction documents and other materials
in connection with matters discussed in
today's conference calls (.50).

09/10/06 M. Levinson Exchange of email memoranda with A. 0.10 56.00
Jarvis re next steps with respect to
Investment Partners.
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09/11/06 M. Levinson Portion of a telephone conversation with 4.50 2,520.00

M. Tucker devoted to next steps with
respect to Investment Partners (.10);
telephone conversation with A. Jarvis re
the same and re the September 9th call
with J. Mahoney (.10); email
memorandum from and telephone
conversation with R. Charles re next steps
(.10); long telephone conversation with J.
Mahoney, R. Ashby and J. Hermann re
numerous issues impacting Stone Ridge,
Oak Valley and other Investment Partners
issues (.60); long follow-up conversation
with M. Tucker and J. Hermann re the
same and re next steps (.50); voicemail
message to R. Walker re the call with J.
Mahoney and R. Ashby and requesting
that he call me re the status of his draft
term sheet and exchange follow-up
voicemail messages with R. Walker (.10);
review and revise the M. Tucker-drafted
email memorandum to J. Mahoney
requesting that his client obtain a privacy
waiver from Investment Partners (.20); re-
review the lengthy August 14th draft
proposal from J. Mahoney and the draft
reimbursement agreement attached thereto
(.40); revise and finalize the email
memorandum to J. Mahoney requesting
documents after discussing it with J.
Hermann and M. Tucker (.20); telephone
conversation with J. Hermann and M.
Tucker re the foregoing and re next steps
in preparation for our upcoming call with
T. Allison and others (.30); very long
telephone conversation with A. Jarvis, A.
Brinkerhoff, J. Atkinson, M. Tucker and J.
Hermann, with T. Allison for most of the
call (1.30); follow-up conversation with J.
Hermann and M. Tucker (.60).

09/11/06 J. Hermann Telephone conference with M. Levinson, 0.50 . 285.00
M. Tucker and C. Harvick regarding
issues for call with debtor representatives
in connection with Ashby related matters
and collection of 10-90, Inc. loan.
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09/11/06 J. Hermann Participate in conference call with debtor 2.00 1,140.00
representatives and Diversified Committee
professionals regarding dealings with
Ashby in connection with Investment
Partners issues, issues in connection with
the collection of the 10-90, Inc. loan, and
issues in connection with closing of sale
transactions for Zozo Hotel, Royal Hotel
and Epic condominia (1.50); review and
analyze file materials in connection with
the same (.30); participate in exchange of
email correspondence regarding the same
(.20).
09/11/06 J. Hermann Participate in conference call with M. 0.50 285.00
Levinson and M. Tucker regarding call
from T. Ashby and his counsel regarding
Stoneridge and Oak Mesa project (.40)
and preparation for call this afternoon with
T. Allison and A. Jarvis regarding the
same (.10).
09/11/06 J. Hermann Review and analyze prior correspondence 0.90 513.00
from T. Ashby's counsel regarding
proposed deals on Stoneridge and Oak
Mesa projects (.30) and review and
analyze prior purchase offers and other
file materials in connection with calls this
afternoon with debtor and Ashby
representatives (.30); review and revise
proposed correspondence to T. Ashby's
counsel following such call (.20) and
participate in exchange of email
correspondence regarding the same (.10).
09/11/06 J. Hermann Participate in conference call with J. 0.50 285.00
Mahoney, T. Ashby and M. Levinson
regarding Stoneridge and Oak Mesa
projects and related matters.
09/11/06 J. Hermann Review and analyze transaction 0.80 456.00
documents bearing upon (.40) and initial
prepare escrow irrevocable instructions
seeking to capture sales proceeds of Hotel
Zozo (.40).
09/12/06 J. Hermann Telephone conference with R. Walker and 0.50 285.00
M. Levinson, regarding term sheet for
potential settlement of outstanding
disputes and issues in connection with
asset sales.
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09/12/06 M. Levinson Exchange email memoranda with A. 1.00 560.00

Jarvis re talking with R. Walker this ©
morning (.10); review R. Walker
voicemail message re next steps and
telephone conversation with J. Hermann re
the same (.20); review list prepared by C.
Harvick of loans guaranteed by the
principals of Investment Partners (.10);
review lengthy S. Freeman follow-up
email memorandum (.10); long telephone
conversation with R. Walker and J.
Hermann re next steps and the status of
the term sheet R. Walker is drafting (.50).

09/13/06 J. Hermann Review and analyze term sheet received 0.60 342.00
from J. Milanowski's counsel regarding
settlement proposal for 10-90, Inc. loan
and other Investment Partners obligations
and consider and analyze issues in
connection with the same and
transactional alternatives to the same.

09/13/06 J. Hermann Participate in series of telephone calls, all 1.40 798.00
involving M. Levinson and M. Tucker,
and also involving J. Mahoney, counsel
for T. Ashby, and involving T. Ashby and
T. Redman, regarding numerous issues in
connection with Ashby related loans,
request by T. Ashby that Diversified agree
to sale of Investment Partners LLC
membership interests in connection with
Oak Mesa and Stoneridge projects and
numerous related issues.

09/13/06 J. Hermann Telephone conference with M. Levinson 0.40 228.00
and M. Tucker regarding upcoming call
with J. Milanowski, his counsel and T.
Allison and A. Jarvis and issues for such
call.

09/13/06 J. Hermann Telephone conference with M. Levinson, 1.40 798.00
M. Tucker, J. Milanowski, R. Walker and
A. Jarvis regarding discussion of
settlement term sheet presented by J.
Milanowski and numerous issues in
connection with the same and regarding
recent discussions with T. Ashby and his
representatives.
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09/13/06 J. Hermann Follow-up telephone conference with M. — 0.50 285.00

Levinson and M. Tucker regarding results
of conference call with debtor
representatives and J. Milanowski and his
counsel and issues in connection with
possible settlement with J. Milanowski.

09/13/06 J. Hermann Review and analyze transaction 0.80 456.00
documents received from J. Mahoney
regarding Ashby related loans and
consider and analyze issues raised therein.

09/13/06 M. Levinson Exchange a series of email memoranda 3.70 2,072.00
with A. Jarvis and M. Tucker re the
upcoming meeting in Las Vegas (that I
will join by phone) with J. Milanowski
and others (.20); telephone conversation
with J. Mahoney, J. Hermann and M.
Tucker re J. Milanowski and R. Ashby
developments including those relating to
Stoneridge Oak Mesa and Roripaugh
Ranch (.30); follow-up conversation with
J. Hermann and M. Tucker (.40);
telephone conversation with J. Mahoney,
R. Ashby, L. Redman, J. Hermann and M.
Tucker re the various Ashby and J.
Milanowski issues and status (.20);
another follow-up conversation with J.
Hermann and M. Tucker (.20); telephone
conversation with A. Jarvis re the same
and re next steps (.30) follow-up
conversation with J. Hermann and M.
Tucker (.30); review the proposed term
sheet circulated moments ago by R.
Walker for IP, J. Milanowski and T.
Hantges and telephone conversation with
J. Hermann and M. Tucker (.30);
participate in a large portion of the
telephone conversation re the same with
R. Walker, J. Milanowski, T. Allison, A.
Jarvis, J. Hermann and M. Tucker (.80);
review M. Tucker email memorandum
summarizing one aspect of the meeting
and respond to the email (.20); lengthy
follow-up conversation with J. Hermann
and M. Tucker (.50).
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09/14/06 J. Hermann Review and analyze email and attached 1.80 1,026.00

default notice sent on 10-90, Inc. loan and
questions as to the same (.20); review and
analyze 10-90 transaction documents in
connection with such questions (.40);
prepare email correspondence dealing
with default interest and related issues
(.50); telephone conference with M.
Tucker regarding follow-up issues and
collection strategy (.50); participate in
exchange of email correspondence
regarding distribution of 10-90 loan
proceeds and related matters (.20).
09/14/06 M. Levinson Portions of a number of telephone 0.50 280.00
conversations with J. Hermann and M.
Tucker devoted to discussing next steps
with respect to Investment Partners and J.
Milanowski (.20); review lengthy C.
Harvick and M. Tucker email memoranda
re Investment Partners issues (.20); review
S. Smith and J. Hermann responses to M.
Tucker and C. Harvick (.10).
09/14/06 L. Ernce Review email from M. Tucker re 10-90 0.20 93.00
loan issues and review letter from USA
Commercial to Investment Partners re
default; review J. Hermann email
response.
09/15/06 J. Hermann Telephone conference with M. Levinson 0.70 399.00
and M. Tucker regarding strategy for
further negotiations with J. Milanowski
and litigation issues and alternatives
bearing upon the same.
09/15/06 J. Hermann Review and analyze exemplars regarding 0.40 228.00
appointment of receivers under Nevada
law, bases for doing so and other issues
related to Investment Partners.
09/15/06 J. Hermann Participate in conference call with Nevada 1.40 798.00
Diversified Committee counsel, M.
Levinson and M. Tucker regarding issues
involving possible appointment of a
receiver for Investment Partners and
numerous other issues.
09/15/06 J. Hermann Review and analyze Nevada statutes and 1.60 912.00
cases and bankruptcy rules governing
receiverships and special masters in
comnection with possible request for
receiver or special master for Investment
Partners and consider and analyze issues
in connection with the same.
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09/15/06 M. Levinson Review a series of M. Tucker and C. 1.80 1,008.00
Harvick email memoranda re a number of
Investment Partners issues (.20); telephone
conversation B. Olson, D. Waite (for large
part), M. Tucker and J. Hermann re
receivership and litigation issues relating
to the 10-90 loan (1.20); review a series of
J. Hermann follow-up email memoranda
re Nevada receivership issues (.10);
review M. Tucker email memorandum to
T. Allison re Investment Partners
collection efforts (.10); telephone
conversation with R. Charles re
Investment Partners collection efforts
(.20).
09/15/06 L. Ernce Review C. Harvick email re 10-90 loan 0.10 46.50
issues.
09/16/06 M. Levinson Review J. Mahoney and R. Ashby 0.60 336.00
voicemail message suggesting an all-
hands call on September 18th and send a
lengthy email memorandum to the
Diversified Committee professionals re
the same (.20); review responsive email
memoranda from J. Hermann, C. Harvick
and M. Tucker (.10); lengthy follow-up
email memorandum to T. Allison, A.
Jarvis, M. Tucker re how to approach such
a call (.20); review J. Hermann and
lengthy M. Tucker email memoranda re
the same (.10).
09/17/06 M. Levinson Review T. Allison and J. Mahoney email 0.50 280.00
memoranda re the change in time for
tomorrow's all-hands call with the Ashby
and Milanowski teams (.10); exchange a
series of brief email memoranda with T.
Allison, A. Jarvis, M. Tucker and J.
Hermann re tomorrow's call and re a pre-
call among the Diversified and Diversified
Committee professionals (.10); prepare for
tomorrow's conference calls (.30).
09/18/06 J. Hermann Participate in conference call with debtor 0.40 228.00
representatives and Diversified Committee
representatives in preparation for all-hands
call with Ashby and Investment Partners
representatives regarding issues to be
discussed and positions on the same.
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09/18/06 J. Hermann Participate in conference call with 0.90 513.00
representatives of Ashby, Investment
Partners, debtors, Diversified Committee
regarding issues in connection with
Stoneridge, Roripaugh Ranch, production
of documents, etc. in connection with 10-
90, Inc. loan.
09/18/06 J. Hermann Telephone conference with M. Levinson 0.40 228.00

and M. Tucker regarding results of all-
hands call and follow-up actions.
09/18/06 J. Hermann Review and analyze lengthy proposal and 0.80 456.00
lengthy enclosures received from counsel
for Ashby proposing changes to
fundamental nature of member interest of
Investment Partners.
09/18/06 J. Hermann Participate in exchange of email 0.30 171.00
correspondence with M. Tucker, C.
Harvick and M. Levinson regarding
voluminous information just received
from counsel for Ashby.
09/18/06 J. Hermann Telephone conference with M. Levinson 0.50 285.00
and M. Tucker regarding issues and
preparation for this morning's call with
Ashby, debtors, Investment Partners and
Diversified Committee representatives
regarding Stoneridge, Roripaugh Ranch
and other issues bearing upon collection of
10-90, Inc. loan.
09/18/06 K. Neureiter Research and review cases related to 2.00 750.00
appointment of receiver in adversary
proceeding.
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09/18/06 M. Levinson Review prior correspondence and email 3.70 2,072.00

memoranda in preparation for the
upcoming call with T. Allison, R. Ashby,
J. Milanowski, J. Mahoney and others
(.30); exchange a series of brief email
memoranda with T. Allison, A. Jarvis and
others re the upcoming call (.10); portion
of a telephone conversation with M.
Tucker and J. Hermann devoted to
preparation for the upcoming calls (.20);
telephone conversation with T. Allison, A.
Jarvis, M. Tucker, C. Harvick and J.
Hermann in preparation for the call (.40);
long conference all with R. Ashby, L.
Redman, P. McNicholas, J. Mahoney, J.
Milanowski (for part), R. Walker, T.
Allison, A. Jarvis, M. Tucker, C. Harvick,
J. Hermann and others re next steps with
respect to the three Ashby-related projects
(.90); long follow-up conversation with M.
Tucker and J. Hermann (.40); telephone
conversation with R. Walker re the
foregoing and re his clients agreeing to
permit the Ashby entities to provide
documents to the estate and brief notes
thereafter (.30); telephone conversation
with J. Hermann re the same and re
preparing documentation of a permission
form (.10); review and revise the draft
permission form and email to J. Hermann,
M. Tucker and C. Harvick re the same
(.20); review J. Hermann responsive email:
memorandum and respond to same with
some new suggested language (.10); initial
review of the new global settlement
proposal from Diversified, USACM and J.
Milanowski from J. Maloney for the
various Ashby entities and of the
attachments thereto (.20); review lengthy
J. Hermann and M. Tucker and brief C.
Harvick email memoranda in response to
the new proposal (.20); analysis re next
steps and then send a lengthy email
memorandum to J. Hermann, M. Tucker
and C. Harvick in response to the same
and as a follow-up to my conversation this
afternoon with R. Walker (.30).

09/18/06 L. Ernce Review J. Hermann email re 10-90 loan 0.10 46.50
issues.
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09/19/06 J. Hermann Further telephone conference with M. 0.40 228.00

Tucker and M. Levinson regarding plan of
reorganization issues, issues bearing upon
obtaining J. Milanowski's consent to
obtaining information from T. Ashby,
issues complicating sale of Royal Hotel by
HMaA Sales, LLC and related matters.
09/19/06 J. Hermann Initial preparation of Rule 2004 0.90 513.00
applications for financial institutions
regarding banking records of Investment
Partners, including drafting of
comprehensive document request.
09/19/06 J. Hermann Review and analyze research memo and 0.80 456.00
cited cases on issue of whether bankruptcy
court may appoint receiver in adversary
proceeding in connection with possible
action against Investment Partners to
collect on 10-90, Inc. loan.
09/19/06 J. Hermann Telephone conference with M. Tucker and 0.40 228.00
' M. Levinson regarding issues to be
negotiated with USACM in connection
with plan of reorganization and numerous
related issues.
09/19/06 J. Hermann Telephone conference with M. Tucker and 0.40 228.00
M. Levinson regarding issues in
connection with letter received from J.
Mahoney proposing alteration of
Investment Partners LLC membership
interests and numerous related issues in
connection with 10-90, Inc. loan.

09/19/06 K. Neureiter Continue review of research regarding 1.30 487.50
appointment of receiver in adversary
proceeding.

09/19/06 K. Neureiter Draft analysis email to J. Hermann with 1.60 600.00

results of research related to appointment
of receiver in adversary proceeding.
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09/19/06 M. Levinson Continue reviewing and analyzing 3.10 1,736.00

yesterday's lengthy J. Mahoney
correspondence and the attachments
thereto relating to the changes,
concessions, etc. requested by R. Ashby
and affiliates (.80); telephone conversation
with R. Walker re the same and re J.
Milanowski's willingness to permit the
Ashby entities to release Investment
Partners documents to the estate and the
Diversified Committee (.20); voicemail
message to J. Hermann and email
memorandum to J. Hermann with a copy
to T. Allison, A. Jarvis and M. Tucker re
the same and re next steps (.20); review
the draft letter forwarded by J. Hermann to
R. Walker and review the cover email
memorandum (.10); portion of long
telephone conversation with J. Hermann,
with M. Tucker for part, re the J. Mahoney
letter and attachments, and re next steps in
light of the same (.40); telephone
conversation with R. Walker re the J.
Mahoney letter, the draft letter re the
release of Investment Partners information
and re other matters (.20); initial review of
lengthy K. Neureiter email memorandum
re Nevada receivership issues (.20); long
telephone conversation with M. Tucker
and J. Hermann re my call with R. Walker
and re next steps with respect to
Investment Partners (.40); draft revise and
finalize a lengthy email memorandum to
T. Allison and A. Jarvis re my
conversation with R. Walker, re the issues
discussed and re next steps (.40);
exchange follow-up email memoranda
with J. Hermann and send a revised
version of the email to T. Allison, A.
Jarvis and others (.20).

09/20/06 J. Hermann Portion of conference call with A. Jarvis 0.70 399.00
and M. Levinson and M. Tucker regarding
numerous issues as a follow-up to all
hands conference call, including ongoing
negotiations with J. Milanowski and T.
Ashby in connection with collection of 10-
90, Inc. loan.
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09/20/06 M. Levinson Portion of long telephone conversation 0.70 392.00
with A. Jarvis, J. Hermann and M. Tucker
devoted to my conversation with R.
Walker yesterday and re a number of
related Investment Partners issues
including those relating to the Sheraton
sale and the Royal Hotel.

09/21/06 M. Levinson Substantive voicemail message to R. 0.50 280.00
Walker re status of the J. Milanowski
letter to the Ashby entities authorizing the
release of documents and follow-up email
memorandum to A. Jarvis, T. Allison and
the Diversified Fund professionals re the
same and re next steps (.20); email
memorandum from M. Tucker to A. Jarvis
re the same (.10); telephone conversation
with J. Hermann re an interpreting the
Investment Partners settlement agreement
(.10); review C. Harvick email
memorandum re Investment Partners'
assignment of its partnership interest to
10-90 (.10).

09/21/06 J. Hermann Review and analyze Assignments of 0.60 342.00
Membership Interests and consider and
analyze questions raised as to the effect of
the same in connection with purported
assignment by Investment Partners of
member interests in Investment Partners.

09/22/06 M. Levinson Exchange brief email memoranda with A. 0.60 336.00
Jarvis re her conversation with R. Walker
re next steps (.10); review the letter from
R. Walker to J. Mahoney authorizing the
release of documents and date and email
to the Diversified Fund professionals re
the same (.10); review C. Harvick email
memorandum to P. Cheng of Mesirow re
next steps in light of the R. Walker letter
(.10); telephone conversation with J.
Hermann re revising the Hotel Zozo
escrow instruction (.10); review lengthy J.
Hermann email memorandum to A. Jarvis
re new irrevocable escrow instructions
relating to the Hotel Zozo and the Marquis
Hotel (.10).; review J. Hermann email
memorandum to A. Jarvis re a question
relating to the Investment Partners
settlement documents (.10).
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09/25/06 M. Levinson Telephone conversation with A. Jarvis re 0.40 224.00
next steps with respect to Investment
Partners (.10); review the revised R.
Walker letter to J. Mahoney re release of
materials and data to the Diversified
Committee and to the Diversified DIP
(.10); review the C. Harvick email
memorandum to P. McNicholas of Fiesta
forwarding the R. Walker and requesting
the documents (.10); review M. Tucker
email memorandum to S. Tingey
requesting a copy of the title reports on the
Hotel Zozo and Marquis Hotel (.10).
09/25/06 J. Hermann Review and analyze 2003 audit report 0.20 114.00
regarding assignment of Epic property to
Tree Moss LLC (.20).
09/26/06 M. Levinson Review the D. Parker email memorandum 0.20 112.00
to R. Walker re the document turnover
~ requested by FTI and forward the same to
the Diversified Fund professionals.
09/27/06 M. Levinson Portion of a long telephone conversation 1.10 616.00
with M. Tucker and J. Hermann devoted
to Investment Partners issues (.20);
portion of telephone conversation with R.
Walker devoted to various Investment
Partners issues, including those relating to
the Ashby documents, the Hotel Zozo and
other topics (.20); email memorandum to
A. Jarvis, T. Allison, M. Tucker, J.
Hermann and others re my conversation
with R. Walker (.20); telephone
conversations with J. Hermann and M.
Tucker re the same (.10); review J.
Hermann email memorandum to A. Jarvis
re finalizing the escrow instructions for
the Hotel Zozo, review A. Jarvis response
thereto and email J. Hermann and M.
Tucker re next steps (.20); telephone
conversation with M. Tucker and J.
Hermann re responding to the Great White
equitable lien and my call with R. Charles
re the same (.10); review J. Hermann
email memorandum to R. Walker covering
the proposed irrevocable hotel sale escrow
instructions (.10).
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09/28/06 M. Levinson Conferences with T. Allison, A. Jarvis and 2.40 1,344.00

R. Walker (for part) re Investment
Partners status, strategic and next steps
issues (.30); conference with A. Jarvis, S.
Strong and B. Kotter re Investment
Partners issues in preparation for the
meeting later this afternoon (.30);
exchange a number of email memoranda
with J. Hermann and M. Tucker about the
upcoming meeting and re various
Investment Partners issues (.20); review
the R. Russell email re the possible
closing of the Royal Hotel in the near
future forwarded by R. Charles and
forward the same to J. Hermann and M.
Tucker (.10); meetings re numerous
Investment Partners issues with A. Jarvis,
B. Atkinson, R. Walker and J. Milanowski
at USA Capital (1.00); telephone
conversation with J. Hermann re
Investment Partners and Ashby issues
immediately following the meetings (.10);
follow-up discussions with A. Jarvis, S.
Strong and B. Kotter (.20); exchange of
follow-up email memoranda with L.
Ernce, J. Hermann and M. Tucker (.20).

09/28/06 L. Ernce Review emails from M. Levinson re his 0.20 93.00
meetings today and re information learned
about Investment Partners principals.

09/28/06 J. Hermann Telephone conference with M. Levinson 2.00 1,140.00
regarding results of meeting with J.
Milanowski and others (.10); review and
analyze correspondence from D. Parker
requesting further confirmation from J.
Milanowski as to production of documents
(.10); review and analyze listing of
documents requested (.10); participate in
exchange of email correspondence
regarding the same with R. Walker (.20);
further review and analyze loan
transaction documents (.40) and operating
agreements of pledged LLC membership
interests (.50) in connection with analysis
of issues bearing upon ability to enforce
liens upon pledged interests (.30) and
formulation of overall litigation strategy
(.30).
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09/28/06 J. Hermann Prepare 2004 examination request for 1.50 855.00
banking records of Investment Partners
(.90); review and analyze local rules
bearing upon the same (.30); review and
analyze file materials bearmg upon
categories of banking records to be
requested (.30).
09/28/06 J. Hermann Participate in exchange of email 0.20 114.00

correspondence with M. Levinson
regarding inquiries to be made at meeting
with J. Milanowski and debtor
professionals and related matters.
09/29/06 M. Levinson Telephone conversation with J. Hermann 0.50 280.00
re yesterday's meeting with J. Milanowski,
re his call yesterday with C. Orrock of
Great White and re next steps (.30);
telephone conversation with M. Tucker re
yesterday's meeting with J. Milanowski
and re next steps (.20).
09/29/06 J. Hermann Telephone conference with M. Levinson 0.30 171.00
regarding conversation with C. Orrock and
his assertions with respect to Investment
Partners and related matters.
09/29/06 J. Hermann Telephone conference with C. Orrock 0.40 228.00
regarding his assertions with respect to
Investment Partners, equitable lien against
Royal Hotel and other related issues.
09/29/06 J. Hermann Participate in exchange of email 0.20 114.00
correspondence with C. Orrock regarding
allegations made in Diversified Fund
Committee opposition to motion to
distribute and evidence set forth therein
regarding monies transferred from
USACM to Investment Partners.
09/30/06 M. Levinson Review and analyze lengthy email 0.20 112.00
memorandum from C. Orrock re his
thoughts on pursuing Investment Partners.

BS05 — 10-90 Loan Total 79.60 44,016.50

Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 0.60 465.00 279.00
Jeffery D. Hermann 40.40 570.00 23,028.00
Marc A. Levinson 33.70 560.00 18,872.00
Kimberly E. Neureiter . . 4.90 375.00 1,837.50

Total All Timekeepers 79.60 $552.97 $44,016.50
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Billed
Task Code Description Hours Amount
B110 Case Administration 21.30 11,619.00
B120 Asset Analysis and Recovery 17.40 9,775.00
B130 Asset Disposition & Sales 0.30 168.00
B152 Meetings & Communications with other Committees 4.70 2,651.00
B153 Meetings & Communications with the Committee or 23.80 12,321.00
members of the Committee
B1i54 Meetings & Communications with the Creditors or 28.20 13,756.50
Equity holders
B160 Fee/Employment Applications 9.30 4,538.50
B170 Fee/Employment Objections 28.70 14,651.00
B310 Claims Administration and Objections 5.70 2,783.50
B320 Plan and Disclosure Statement (including Business 141.20 78,076.00
Plan)
B503 Litigation 4,70 2,449.50
B504 EPIC Loan 7.20 4,200.00
B505 10-90 Loan 79.60 44,016.50
Totals 91.50 $201,005.50
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 82.40 465.00 38,316.00
Jeffery D. Hermann 123.80 570.00 70,566.00
Marc A. Levinson 158.90 560.00 88,984.00
Michael A. McAndrews 2.10 620.00 1,302.00
Kimberly E. Neureiter 4.90 375.00 1,837.50
Total All Timekeepers 372.10 $540.19 $201,005.50
Disbur sements
Duplicating Expense 29.80
Express Delivery 68.12
Facsimile 62.00
Lexis Research 280.00
Local Taxi Expense 22.00
Outside Services 466.52
Parking Expense 12.00
Telephone 478.03
Travel Expense, Air Fare 306.60
Travel Expense, Local 13.35
Total Disbursements $1,738.42

Total For This Matter $202,743.92
